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 1 JESSE LASLOVICH
   United States Attorney
 2 MADISON L. MATTIOLI                                    MARK STEGER SMITH
     MT Bar No. 36411284                                   MT Bar No. 4160
 3 ABBIE J.N. CZIOK                                       TIMOTHY A. TATARKA
     MT Bar No. 55781377                                   CA Bar No. 277219
 4 Assistant U.S. Attorneys                               Assistant U.S. Attorneys
    U.S. Attorney’s Office                                U.S. Attorney’s Office
 5 901 Front Street, Suite 1100                           James F. Battin Federal Courthouse
    Helena, MT 59626                                      2601 2nd Ave. North, Suite 3200
 6 Phone: (406) 457-5269 – Madison                        Billings, MT 59101
         (406) 457-5268 – Abbie                           Phone: (406) 247-4667 – Mark
 7 Fax: (406) 457-5130                                            (406) 247-4642
    Email: madison.mattioli@usdoj.gov                     Fax: (406) 657-6058
 8      abbie.cziok@usdoj.gov                             Email: mark.smith3@usdoj.gov
                                                               timothy.tatarka@usdoj.gov
 9    Attorneys for Federal Defendants and
      Defendant United States of America
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11                             IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
12
     CALIFORNIA COALITION FOR WOMEN
13   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;       CASE NO. 4:23-CV-04155-YGR
     G.M.; A.S.; and L.T., individuals on behalf of
14   themselves and all others similarly situated,
15                             Plaintiffs
                         v.
16                                                    DECLARATION OF ABBIE CZIOK
     UNITED STATES OF AMERICA FEDERAL
17   BUREAU OF PRISONS, a governmental entity;
     BUREAU OF PRISONS DIRECTOR
18   COLETTE PETERS, in her official capacity;
     FCI DUBLIN WARDEN THAHESHA JUSINO,
19   in her official capacity; OFFICER
     BELLHOUSE, in his individual capacity;
20   OFFICER GACAD, in his individual capacity;
     OFFICER JONES, in his individual capacity;
21   LIEUTENANT JONES, in her individual
     capacity; OFFICER LEWIS, in his individual
22   capacity; OFFICER NUNLEY, in his individual
     capacity, OFFICER POOL, in his individual
23   capacity, LIEUTENANT PUTNAM, in his
     individual capacity; OFFICER SERRANO, in
24   his individual capacity; OFFICER SHIRLEY, in
     his individual capacity; OFFICER SMITH, in his
25   individual capacity; and OFFICER VASQUEZ,
     in her individual capacity,
26
                              Defendants.
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     DECLARATION OF ABBIE CZIOK
     ISO ADMIN. MOTION TO APPEAR REMOTELY
     4:23-CV-04155-YGR                                1
              Case 4:23-cv-04155-YGR Document 169-1 Filed 02/20/24 Page 2 of 2



 1 I, Abbie Cziok, declare as follows:

 2 1. My name is Abbie Cziok, and I am an attorney of record in the above captioned case representing

 3       the United States.

 4 2. On January 20, 2024, I contacted counsel for Plaintiffs to ask whether they would object to the

 5       remote appearance of Abbie Cziok at the February 27, 2024 hearing.

 6 3. At the time of filing this response, counsel had not received a response from Plaintiffs’ counsel.

 7
              I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true and
 8
     correct. Executed this 20th day of February 2024, at Helena, MT.
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11                                                         ______________________________________
                                                           ABBIE CZIOK
12                                                         Assistant United States Attorney
                                                           District of Montana
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     DECLARATION OF ABBIE CZIOK
     ISO ADMIN. MOTION TO APPEAR REMOTELY
     4:23-CV-04155-YGR                                     2
